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        In the United States Court of Federal Claims
   * * * * * * * * * * * * * * * * **
                                              *
  SCIENCE AND ENGINEERING                     *
  SERVICES, LLC,                              *
                     Plaintiff,               *
                                              *   No. 17-595C
             v.                               *   Filed: August 7, 2020
                                              *
  UNITED STATES,                              *
                     Defendant.               *
                                              *
   * * * * * * * * * * * * * * * * **
                                  ORDER

       The court is in receipt of the parties’ August 7, 2020 joint stipulation of dismissal
with prejudice with each party to bear its own fees and costs. Pursuant to Rule
41(a)(1)(A)(ii) of the Rules of the United States Court of Federal Claims (2020), this court
ORDERS that this case be DISMISSED, with prejudice, and with each party to bear its
own costs, expenses, and attorneys’ fees.

       IT IS SO ORDERED.

                                                      s/Marian Blank Horn
                                                      MARIAN BLANK HORN
                                                               Judge
